           Case 3:20-cv-04928-EMC Document 49 Filed 04/25/22 Page 1 of 3




 1   KEITH R. SCHIRMER (State Bar No. 87691)
     CODY LEE SAAL (State Bar No. 286041)
 2   EDRINGTON, SCHIRMER & MURPHY, LLP
     2300 Contra Costa Boulevard, Suite 450
 3   Pleasant Hill, CA 94523-3936
     Telephone: (925) 827-3300
 4   Facsimile: (925) 827-3320
     Email: kschirmer@esmlawfirm.com
 5   Email: csaal@esmlawfirm.com
 6   Attorneys for Defendants JASON
     KROLIKOWSKI, MELANIE JONES, JON
 7   CAMPOPIANO
 8
                                   UNITED STATES DISTRICT COURT
 9
                                  NORTHERN DISTRICT OF CALIFORNIA
10
     THOMAS SEABURY, an individual,                          Case No. 3:20-cv-04928-EMC (AGT)
11
                     Plaintiff,
12                                                           STIPULATION AND [PROPOSED]
     vs.                                                     ORDER REGARDING
13                                                           CONTINUANCE OF THE ADR
     SAN RAMON VALLEY UNIFIED SCHOOL                         DEADLINE
14   DISTRICT, Superintendent RICK SCHMIT in his
     official capacity, MELANIE JONES in her                 Hon. Judge Edward M. Chen
15   official and individual capacity, JASON
     KROLIKOWSKI in his official and individual
16   capacity, JON CAMPOPIANO in his official and
     individual capacity, and DOES 1 through 15,
17   inclusive,
18                   Defendants.
19
20
              PLAINTIFF THOMAS SEABURY and DEFENDANTS MELANIE JONES, JASON
21
     KROLIKOWSKI and JON CAMPOPIANO (collectively, “Defendants”) by and through their
22
     counsel of record, hereby stipulate as follows:
23
           1. Counsel for the parties have been exchanging information and documents necessary to
24
     engage in meaningful settlement negotiations in a Settlement Conference with Magistrate Judge
25
     Alex G. Tse. The deposition of plaintiff SEABURY has been completed. The depositions of
26
     defendant JASON KROLIKOWSKI and District employee Ben Lee are being scheduled for dates
27
     in June due to plaintiff’s attorney’s trial schedule.
28
                                                        1
       STIPULATION AND [PROPOSED] ORDER                          3:20-cv-04928-EMC (AGT)
        Case 3:20-cv-04928-EMC Document 49 Filed 04/25/22 Page 2 of 3




 1      2. To allow for completion of the two District employee depositions, the parties respectfully

 2   request a continuance of the current ADR/Settlement Conference deadline. The completion of these

 3   two depositions by plaintiff are necessary in order for the parties to engage in meaningful and fruitful

 4   settlement negotiations at a Settlement Conference.

 5      3. The current ADR deadline is May 31, 2022.

 6      4. The parties respectfully request a continuance of the ADR deadline to August 31, 2022.

 7      5. The parties are filing a contemporaneous request with Judge Tse to reset the current May 4,

 8   2022 Settlement Conference to a date in July or early August, depending on the Court’s schedule

 9   and availability.
10      IT IS SO STIPULATED.

11   DATED: April 25, 2022                          BIGGS LAW OFFICE A.P.C.

12
                                                    ______/s/_Michael S. Biggs_______________
13                                                  Michael S. Biggs, Esq
14                                                  Attorney for plaintiff THOMAS SEABURY

15

16   DATED: April 25, 2022                          EDRINGTON, SCHIRMER & MURPHY LLP

17

18                                                         /s/ Cody Lee Saal
                                                    Cody Lee Saal, Esq.
19                                                  Attorney for Defendants MELANIE JONES,
                                                    JASON KROLIKOWSKI and JON
20                                                  CAMPOPIANO
21

22                                             ATTESTATION

23          I hereby attest that I have obtained the consent of the other signatory to the filing of this

24   document.

25                                                         /s/ Cody Lee Saal
                                                    Cody Lee Saal, Esq.
26                                                  Attorney for Defendants MELANIE JONES,
                                                    JASON KROLIKOWSKI and JON
27                                                  CAMPOPIANO
28
                                                       2
       STIPULATION AND [PROPOSED] ORDER                             3:20-cv-04928-EMC (AGT)
        Case 3:20-cv-04928-EMC Document 49 Filed 04/25/22 Page 3 of 3




 1                                       [PROPOSED] ORDER

 2          Pursuant to the Stipulation of the parties and good cause appearing, it is hereby ordered as

 3   follows:

 4      1. The ADR/Settlement Conference Deadline is hereby continued to August 31, 2022.

 5          IT IS SO ORDERED.

 6   DATED:

 7                                               _____________________________________
                                                 HON. EDWARD M. CHEN
 8

 9
10

11

12

13

14

15

16

17

18

19
20

21

22

23

24

25

26
27

28
                                                    3
       STIPULATION AND [PROPOSED] ORDER                         3:20-cv-04928-EMC (AGT)
